 Case: 1:11-cv-02480 Document #: 1 Filed: 04/13/11 Page 1 of 5 PageID #:1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

MICHAEL ARCE,                                  )
                                               )    Case No. 11 CV 2480
                Plaintiff,                     )
                                               )    Judge
        v.                                     )
                                               )    Magistrate Judge
DEPUTY SHERIFF ARTHUR                          )
WRIGHT #10552, DEPUTY SHERIFF                  )    Jury Demand
THOMAS DOUGHERTY #11355,                       )
individually, and COOK COUNTY,                 )
                                               )
                Defendants.                    )

                                         COMPLAINT

        Now Comes, the Plaintiff, Michael Arce, by and through his attorneys, Gregory E

Kulis & Associates, Ltd., and complaining against the Defendants, Deputy Sheriff Arthur

Wright #10552, Deputy Sheriff Thomas Dougherty #11355, individually, and Cook

County, as follows:

                                COUNT I – EXCESSIVE FORCE

    1. This action is brought pursuant to the laws of the United States Constitution,

specifically, 42 U.S.C. §1983 and §1988, and the laws of the State of Illinois, to redress

deprivations of the Civil Rights of the Plaintiff and accomplished by acts and/or

omissions of the Defendants committed under color of law.

    2. Jurisdiction is based on Title 28 U. S. C. §1343 and §1331 and supplemental

jurisdiction of the State of Illinois.

    3. The Plaintiff, Michael Arce, at all relevant times, was a United States citizen and

permanent resident of the State of Illinois.
 Case: 1:11-cv-02480 Document #: 1 Filed: 04/13/11 Page 2 of 5 PageID #:2




   4. The Defendants, Deputy Sheriff Wright and Deputy Sheriff Dougherty, were at

all relevant times, duly appointed sheriff officers of Cook County, and, at all relevant

times, were acting within their scope of employment and under color of law.

   5. On or about April 7, 2010, the Plaintiff, Michael Arce, was in Courtroom 405 at

2650 S. California Avenue in Chicago, Illinois.

   6. The Plaintiff was appearing for a violation of probation charge against him.

   7. The judge ordered the Plaintiff into custody for violation of probation.

   8. The Plaintiff pushed open the doors into the area leading to the lock-up area.

   9. The Plaintiff had a verbal altercation with Defendant Dougherty.

   10. The Defendants then began to punch the Plaintiff in the head, face and body.

   11. The Plaintiff did not do anything to provoke the use of force.

   12. The use of force was excessive and unreasonable.

   13. Said actions of the Defendants, Deputy Sheriff Wright and Deputy Sheriff

Dougherty, were intentional, willful, and wanton.

   14. Said actions of the Defendants violated the Plaintiff’s Fourth Amendment Rights

and were in violation of said rights protected by 42 U.S.C. §1983.

   15. As a direct and proximate consequence of said conduct of Defendants Wright and

Dougherty, the Plaintiff suffered violations of his constitutional rights, monetary expense,

fear, emotional distress, pain and suffering.

       Wherefore, the Plaintiff, Michael Arce, prays for judgment against the

Defendants, Deputy Sheriff Wright and Deputy Sheriff Dougherty, jointly and severally,

in an amount in excess of Twenty Thousand Dollars ($20.000.00) in compensatory
 Case: 1:11-cv-02480 Document #: 1 Filed: 04/13/11 Page 3 of 5 PageID #:3




damages and Ten Thousand Dollars ($10,000.00) in punitive damages, plus attorneys’

fees and costs.

                                  COUNT II – FALSE ARREST

       1-12. The Plaintiff, Thomas J. Carrel, hereby realleges and incorporates his

allegations of paragraphs 1-12 of Count I as his respective allegations of paragraph 1-12

of Count II as though fully set forth herein.

       13.        To cover up the unlawful entry and the unlawful use of force, the

Defendants, Deputy Sheriff Wright and Deputy Sheriff Dougherty, fabricated false

criminal charges against the Plaintiff.

       14.        The Defendants arrested the Plaintiff.

       15.        The Plaintiff was not committing a crime or breaking any laws.

       16.        The actions of the Defendants were intentional, willful, and wanton.

       17.        Said actions of the Defendants violated the Plaintiff’s Fourth Amendment

Rights and were in violation of said rights protected by 42 U.S.C. §1983.

       18.        As a direct and proximate consequence of said conduct of Defendants, the

Plaintiff suffered violations of his constitutional rights, monetary expense, fear,

emotional distress, pain and suffering.

       Wherefore, the Plaintiff, Michael Arce, prays for judgment against the

Defendants, Deputy Sheriff Wright and Deputy Sheriff Dougherty, jointly and severally,

in an amount in excess of Twenty Thousand Dollars ($20.000.00) in compensatory

damages and Ten Thousand Dollars ($10,000.00) in punitive damages, plus attorneys’

fees and costs.
 Case: 1:11-cv-02480 Document #: 1 Filed: 04/13/11 Page 4 of 5 PageID #:4




                         COUNT III – MALICIOUS PROSECUTION

       1-14. The Plaintiff, Thomas J. Carrel, hereby realleges and incorporates his

allegations of paragraphs 3-16 of Count II as his respective allegations of paragraph 1-

14 of Count III as though fully set forth herein.

       15.     The Defendants, Deputy Sheriff Wright and Deputy Sheriff Dougherty,

continued with the criminal charges against the Plaintiff, Michael Arce, knowing they

were false.

       16.     The Plaintiff was forced to go to trial to defend against the false criminal

charges.

       17.     The Plaintiff was found not guilty.

       18.     As a result of the actions of the Defendants, Deputy Sheriff Wright and

Deputy Sheriff Dougherty, the Plaintiff, Michael Arce, suffered pain, anxiety, and

monetary damages.

       Wherefore, the Plaintiff, Michael Arce, prays for judgment against the

Defendants, Deputy Sheriff Wright and Deputy Sheriff Dougherty, jointly and severally,

in an amount in excess of Twenty Thousand Dollars ($20.000.00) in compensatory

damages and Ten Thousand Dollars ($10,000.00) in punitive damages.

                     COUNT IV – INDEMNIFICATION/COOK COUNTY

       1-18. The Plaintiff, Michael Arce, hereby realleges and incorporates his

allegations of paragraphs 1-18 of Count III as his respective allegations of paragraphs 1-

18 of Count IV as though fully set forth herein.
 Case: 1:11-cv-02480 Document #: 1 Filed: 04/13/11 Page 5 of 5 PageID #:5




        19.     Illinois law provides that public entities are directed to pay any tort

judgment for compensatory damages for which employees are liable within the scope of

their employment activities.

        20.     The Defendants, Deputy Sheriff Wright and Deputy Sheriff Dougherty,

are or were employees of Cook County, who acted within the scope of their employment

in committing the misconduct described herein.

        Wherefore, should the Defendants, Deputy Sheriff Wright and Deputy Sheriff

Dougherty, be found liable for any of the acts alleged above, the Defendant, Cook

County, would be liable to pay the Plaintiff, Michael Arce, any judgment obtained

against said Defendants Deputy Sheriff Wright and Deputy Sheriff Dougherty.

                                         JURY DEMAND

        The Plaintiff, Michael Arce, hereby requests trial by jury.

                                                 Respectfully submitted:

                                                 By: /s/ Gregory E. Kulis__________
                                                 Gregory E. Kulis & Associates

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